                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN

  DAVID VAN ELZEN, individually and on                Case No.
  behalf of all others similarly situated,
                                                    CLASS ACTION COMPLAINT
                 Plaintiff,
                                                    DEMAND FOR JURY TRIAL
  v.

  KALAMATA RESEARCH SERVICES,
  LLC, a Florida limited liability company, and
  GLOBAL MARKETING RESEARCH
  SERVICES, INC., a Florida corporation,

                 Defendants.


                               CLASS ACTION COMPLAINT

       Plaintiff David Van Elzen (“Van Elzen” or “Plaintiff”) brings this Class Action

Complaint and Demand for Jury Trial against Defendant Kalamata Research Services, LLC

(“Kalamata” or “Defendant Kalamata”) and Defendant Global Marketing Research Services, Inc.

(“GMRS” or “Defendant GMRS”) to stop the Defendants from violating the Telephone

Consumer Protection Act by sending unsolicited, autodialed text messages to consumers, and to

otherwise obtain injunctive and monetary relief for all persons injured by the conduct of

Defendant Kalamata and Defendant GMRS. Plaintiff, for his Complaint, alleges as follows upon

personal knowledge as to himself and his own acts and experiences, and, as to all other matters,

upon information and belief, including investigation conducted by his attorneys.

                                       INTRODUCTION

       1.      When Congress enacted the TCPA in 1991, it found that telemarketers called

more than 18 million Americans every day. 105 Stat. 2394 at § 2(3). 20. By 2003, due to more

powerful autodialing technology, telemarketers were calling 104 million Americans every day.
In re Rules and Regulations Implementing the TCPA of 1991, 18 FCC Rcd. 14014, ¶¶ 2, 8

(2003).

          2.      The problems Congress identified when it enacted the TCPA have only grown

exponentially in recent years.

          3.      Industry data shows that the number of robocalls made each month increased

from 831 million in September 2015 to 4.7 billion in December 2018—a 466% increase in three

years.

          4.      According to online robocall tracking service “YouMail,” 5.2 billion robocalls

were placed in March 2019 alone, at a rate of 168.8 million per

day. www.robocallindex.com (last visited April 9, 2019). YouMail estimates that in 2019

robocall totals will exceed 60 billion. See id.

          5.      The FCC also has received an increasing number of complaints about unwanted

calls, with 150,000 complaints in 2016, 185,000 complaints in 2017, and 232,000 complaints in

2018. FCC, Consumer Complaint Data Center, www.fcc.gov/consumer-help-center-data.

                        INTRODUCTION TO KALAMATA AND GMRS

          6.      Kalamata is a market research company that conducts phone and text message

surveys with consumers.1

          7.      GMRS is a market research company that deals primarily in political polls and

voter contact services in which GMRS helps politicians and political organizations get messages

out to voters.2




1
    https://theotherhudsonvalley.com/2018/06/04/super-pac-pat-ryan-ny/
2
    http://www.polling.net/#services

                                                                                                   2
          8.    This complaint will show that Kalamata and GMRS are owned, operated and

staffed by the same, if not mostly the same employees.

          9.    In order to conduct surveys, Kalamata and GMRS place phone calls and send text

messages en masse to consumers.

          10.   Such text messages are sent using an automated telephone dialing system

(“ATDS” or “autodialer”) without any consent from the consumer.

          11.   Plaintiff received an autodialed text message to his cellular phone from Defendant

regarding a local issue that is presumed to be political in nature.

          12.   In response to this text message, Plaintiff files this class action lawsuit seeking

injunctive relief, requiring Kalamata and GMRS to cease sending unsolicited, autodialed text

messages to consumers’ cellular telephone numbers, as well as an award of statutory damages to

the members of the Class.

                                             PARTIES

          13.   Plaintiff Van Elzen is a Menasha, Wisconsin resident.

          14.   Defendant Kalamata is a Florida limited liability company with its head office

located in Melbourne, Florida. Kalamata does business throughout this District and the United

States.

          15.   Defendant GMRS is a Florida corporation with its head office located in

Melbourne, Florida. Kalamata does business throughout this District and the United States.

                                 JURISDICTION AND VENUE

          16.   This Court has federal question subject matter jurisdiction over this action under

28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C.

§227 (“TCPA”).




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       17.     This Court has personal jurisdiction over Defendant and venue is proper in this

District under 28 U.S.C. § 1391(b) because Plaintiff resides in this District, and because the

wrongful conduct giving rise to this case was directed to this District by Defendants.

                                  COMMON ALLEGATIONS

                   KALAMATA AND GMRS ARE OWNED, OPERATED
                     AND STAFFED BY THE SAME EMPLOYEES

       18.     The Florida registry for Kalamata shows that its managers include Anthony J.

Diana and Chris Stella:




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       19.     Anthony Diana is the President of GMRS:




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3

http://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype=EntityName
&directionType=Initial&searchNameOrder=KALAMATARESEARCHSERVICES%20L05000
0737890&aggregateId=flal-l05000073789-b2a01122-2a83-4687-9d7a-
174d7e1582af&searchTerm=kalamata%20research%20llc&listNameOrder=KALAMATARESE
ARCHSERVICES%20L050000737890
4
  https://www.linkedin.com/in/anthony-diana-2442401/

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         20.     Chris Stella is the Senior Project Manager at GMRS:




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         21.     The website for GMRS, which is polling.net, displays the names of Anthony

Diana and Chris Stella:




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5
    https://www.facebook.com/cstella23 - Note: polling.net is a d/b/a of GMRS
6
    http://www.polling.net/#services

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       22.     The principal address for Kalamata appears to be 809 Palmetto Ave, Melbourne,

Florida, according to various business registry sources online.7

       23.     809 Palmetto Ave, Melbourne, Florida is the address of OTR, a market research

recruiting company that hires marketer research interviewers for GMRS:




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       24.     The website for OTR (otronline.net) is registered to Anthony Diana, President of

GMRS.9

       25.     The Facebook page for OTR specifically shows that it runs job fairs for GMRS.

For example:




                                                                                         10




7
  https://www.corporationwiki.com/Florida/Melbourne/kalamata-research-services-llc-
3348237.aspx
8
  https://www.otronline.net/
9
  https://domainbigdata.com/otronline.net
10
   https://www.facebook.com/Otr-165809263431648/

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         26.    Joshua Maynard, the Operations Manager for GMRS is also the Operations

Manager for Kalamata:




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       KALAMATA AND GMRS SEND BULK TEXT MESSAGES TO CONSUMERS
                        USING AN AUTODIALER

         27.    GMRS is open about its use of workstations that have predictive dialing

capabilities claiming, “Our dialing system features full predictive capabilities at every station.”12

         28.    It is not currently known which system Kalamata and GMRS use to send out text

messages.

         29.    In sending the text messages at issue, Defendant, or a third party acting on its

behalf, used an automatic telephone dialing system; hardware and/or software with the capacity

to store or produce cellular telephone numbers to be called, using a random or sequential number

generator, and/or to call numbers from pre-loaded lists. This is evident from the circumstances

surrounding the text messages, including the text messages’ commercial and generic content, that




11
     https://www.linkedin.com/in/joshua-maynard-36346a37/
12
     http://www.polling.net/#technology

                                                                                                    7
they were sent without consent, and that they were sent from a phone number that is not in

service, which is consistent with the use of an automatic telephone dialing system to send text

messages.

           30.       There are numerous complaints posted online about autodialed text messages that

consumers received from Kalamata and GMRS without consent. This is a small sampling of

those complaints:

                 •   “Hey Donna this is Alex. We're texting voters about local issues. Your opinion
                     matters. Can you take this short survey’
                     One problem, Donna does not nor has ever lived her. In fact I don't even know
                     Donna.”13
                 •   “Unsolicited text message received:
                     ‘We're texting voters about local issues and your opinion matters. Please take this
                     short survey:’
                     With a tiny URL and no identification as to the survey company, how to
                     unsubscribe, etc. Reported as spam text due to suspicion of spam/malware. If it's
                     legit they need to do a better job identifyng themselves.”14
                 •   “4-14-19 at 7:18 pm received unsolicited robotext “from 216 area code possibly
                     Cleveland, OH” advertising the following: Hi this is Albert, We're texting voters
                     about local issues and your opinion matters. Please take this short survey:
                     https://httpslink.com/a114534. DEFINITE SCAM!”15
                 •   “On 2/22/2019: spam text to my personal unlisted phone number. They had my
                     name and said "we are texting voters about local issues-please take this short
                     survey" with a link which i did not access. My phone number is not on my voter
                     registration so this is really disturbing”16
                 •   “Got a text from 833-569-0326 saying to take a survey about local issues. The
                     survey had this number on it. I tried calling but an automated message said that
                     they will not accept calls with blocked caller IDs!! FISHY!!”17
                 •   “Same crap here, got an SMS from +1-833-568-9654 with a link to a survey on
                     selfserve.decipherinc.com by "survey team at Kalamata research (212-235-6200)"
                     for "voters about local issues"...except I'm not a registered voter nor the person
                     they addressed to. Personal info sold left and right to all scammers.”18
                 •   “Same here. Text about a survey for local issues for voters”19

13
   https://www.disboards.com/threads/watch-out-for-this-scam.3706989/
14
   https://800notes.com/Phone.aspx/1-833-568-5686
15
   https://www.numberguru.com/phone/216/446/8447/
16
   http://number.phonecheckers.com/646-506-4615
17
   https://800notes.com/Phone.aspx/1-212-235-6200
18
     Id.
19
     Id.


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                  Plaintiff Received an Unsolicited Autodialed Text Message to
                                         His Cell Phone

          31.    On December 22, 2019, Plaintiff Van Elzen received an autodialed text message

on his cell phone from the Defendants using phone number 877-612-1508. The text message

stated:

          “DAVID, We’re texting voters about local issues and your opinion matters. Please click

          to participate: http://lnk1.net/v1089164.”

          32.    Plaintiff believes this text message was sent en masse because the text message

was impersonal in nature, and was sent using an autodialer, which enables a sender to send the

identical message to thousands of recipients automatically.

          33.    The caller complaints, referenced above, show that the Defendants consistently

send text messages using the same, or very similar wording.

          34.    Van Elzen clicked on the link provided in the autodialed text message and was

brought to the website address:

https://selfserve.decipherinc.com/survey/selfserve/1f07/191130?list=200&phone=9207023152&

vbid=WI-12959124#?.

          35.    The website indicated the fact that the text was sent on behalf of Kalamata

Research with a contact phone number of 212-235-6200.

          36.    When 212-235-6200 is called, it leads to a voicemail that identifies the company

as being Research Survey.

          37.    877-612-1508, the phone number the autodialed text message was sent from is not

in service.




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         38.    Other consumers who received the same, or similar text messages from the

Defendants have shown online that the text link led to a page identifying the sender as being

Kalamata Research:




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     https://twitter.com/oilgasunicorn/status/1193637479531864065

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          39.    Plaintiff has never given Kalamata or GMRS consent to send automated text

messages to him.

          40.    The unauthorized text message that was sent by Kalamata and GMRS, as alleged

herein, harmed Plaintiff in the form of annoyance, nuisance, and invasion of privacy, and

disturbed Van Elzen’s use and enjoyment of his cellular phone, in addition to the wear and tear



21
     https://twitter.com/brooksbrasfield/status/1157816385650778113
22
     Id.

                                                                                                11
on the phone’s hardware (including the phone’s battery) and the consumption of memory on the

phone.

         41.    The unauthorized text message also wasted Van Elzen’s time, which he spent

reading and clicking on the link in the text message to see who was responsible for sending the

autodialed text message to him.

         42.    Seeking redress for these injuries, Van Elzen, on behalf of himself and a Class of

similarly situated individuals, brings suit under the Telephone Consumer Protection Act, 47

U.S.C. § 227, et seq., which prohibits unsolicited autodialed text messages to cellular telephones.

                                    CLASS ALLEGATIONS

                  Class Treatment Is Appropriate for Plaintiff’s TCPA Claim

         43.    Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23(b)(2)

and Rule 23(b)(3) on behalf of himself and all others similarly situated and seeks certification of

the following Class:

         Autodialed No Consent Class: All persons in the United States who from four
         years prior to the filing of this action through class certification (1) Defendant
         Kalamata and/or Defendant GMRS (or an agent acting on behalf of either
         Defendant) text messaged, (2) on the person’s cellular telephone number, (3) using
         a text messaging platform substantially similar to the text messaging platform
         Defendant Kalamata and Defendant GMRS used to text message Plaintiff, (4) for
         whom the Defendants claim (a) they obtained prior express consent in the same
         manner as the Defendants claim they supposedly obtained prior express consent to
         text message Plaintiff, or (b) they did not obtain prior express consent.

         44.    The following individuals are excluded from the Class: (1) any Judge or

Magistrate presiding over this action and members of their families; (2) Defendant Kalamata,

Defendant GMRS, their subsidiaries, parents, successors, predecessors, and any entity in which

either Defendant or its parents have a controlling interest and their current or former employees,

officers and directors; (3) Plaintiff’s attorneys; (4) persons who properly execute and file a




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timely request for exclusion from the Class; (5) the legal representatives, successors or assigns of

any such excluded persons; and (6) persons whose claims against the Defendants have been fully

and finally adjudicated and/or released. Plaintiff anticipates the need to amend the Class

definition following appropriate discovery.

       45.     Numerosity: On information and belief, there are hundreds, if not thousands of

members of the Class such that joinder of all members is impracticable.

       46.     Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiff and the Class, and those questions predominate over any

questions that may affect individual members of the Class. Common questions for the Class

include, but are not necessarily limited to the following:

               (a) whether the Defendants used an automatic telephone dialing system to send
                   text messages to Plaintiff and the members of the Autodialed No Consent
                   Class;

               (b) whether the Defendants sent the text messages to Plaintiff and the members of
                   the Autodialed No Consent Class without the necessary consent;

               (c) whether Defendants’ conduct constitutes a violation of the TCPA; and

               (d) whether members of the Class are entitled to treble damages based on the
                   willfulness of Defendants’ conduct.

       47.     Adequate Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Class, and has retained counsel competent and experienced in class

actions. Plaintiff has no interests antagonistic to those of the Class, and the Defendants have no

defenses unique to Plaintiff. Plaintiff and his counsel are committed to vigorously prosecuting

this action on behalf of the members of the Class, and have the financial resources to do so.

Neither Plaintiff nor his counsel has any interest adverse to the Class.




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       48.     Appropriateness: This class action is also appropriate for certification because

Defendant Kalamata and Defendant GMRS have acted or refused to act on grounds generally

applicable to the Class and as a whole, thereby requiring the Court’s imposition of uniform relief

to ensure compatible standards of conduct toward the members of the Class and making final

class-wide injunctive relief appropriate. Defendants’ business practices apply to and affect the

members of the Class uniformly, and Plaintiff’s challenge of those practices hinges on

Defendants’ conduct with respect to the Class, not on facts or law applicable only to Plaintiff.

Additionally, the damages suffered by individual members of the Class will likely be small

relative to the burden and expense of individual prosecution of the complex litigation

necessitated by Defendants’ actions. Thus, it would be virtually impossible for the members of

the Class to obtain effective relief from Defendants’ misconduct on an individual basis. A class

action provides the benefits of single adjudication, economies of scale, and comprehensive

supervision by a single court.

                                FIRST CAUSE OF ACTION
                            Telephone Consumer Protection Act
                               (Violations of 47 U.S.C. § 227)
                (On Behalf of Plaintiff and the Autodialed No Consent Class)

       49.     Plaintiff repeats and realleges paragraphs 1 through 48 of this Complaint and

incorporates them by reference.

       50.     Defendant Kalamata and Defendant GMRS, or their agents sent unwanted text

messages to cellular telephone numbers belonging to Plaintiff and the other members of the

Autodialed No Consent Class using an autodialer.

       51.     These text messages were sent en masse without the consent of the Plaintiff and

the other members of the Autodialed No Consent Class to receive such text messages.

       52.     Defendants’ conduct was negligent, wilful, or knowing.



                                                                                                   14
       53.      Defendant Kalamata and Defendant GMRS have, therefore, violated 47 U.S.C. §

227(b)(1)(A)(iii). As a result of Defendants’ conduct, Plaintiff and the other members of the

Autodialed No Consent Class are each entitled to between $500 and $1,500 for each and every

text message.



                                    PRAYER FOR RELIEF
       WHEREFORE, Plaintiff Van Elzen, individually and on behalf of the Class, prays for

the following relief:

   a) An order certifying the Class as defined above, and appointing Plaintiff as the

       representative of the Class and her attorneys as Class Counsel;

   b) An award of actual and/or statutory damages and costs;

   c) An order declaring that Defendants’ actions, as set out above, violate the TCPA;

   d) An injunction requiring Defendant Kalamata and Defendant GMRS to cease all

       unsolicited texting activity, and to otherwise protect the interests of the Class; and

   e) Such further and other relief as the Court deems just and proper.

                                      JURY DEMAND

       Plaintiff Van Elzen requests a jury trial.

                                              Respectfully Submitted,

                                              DAVID VAN ELZEN, individually and on behalf
                                              of those similarly situated individuals


Dated: January 15, 2020                       By: /s/ Stefan Coleman

                                              Stefan Coleman
                                              law@stefancoleman.com
                                              LAW OFFICES OF STEFAN COLEMAN, P.A.
                                              201 S. Biscayne Blvd, 28th Floor
                                              Miami, FL 33131


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Telephone: (877) 333-9427
Facsimile: (888) 498-8946


Attorneys for Plaintiff and the putative Class




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